Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 1 of 24




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                       MDL No. 3076
                                Case No. 1:23-md-03076-KMM

     IN RE:

     FTX Cryptocurrency Exchange Collapse Litigation
     ____________________________________________
     THIS DOCUMENT RELATES TO:
           INSIDER DEFENDANTS
           PROMOTER DEFENDANTS
     ____________________________________________



      PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF FIRST TRANCHE OF
      SETTLEMENTS, PROVISIONAL CERTIFICATION OF PROPOSED SETTLEMENT
               CLASS, AND APPROVAL OF THE PROPOSED SCHEDULE
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 2 of 24




          �e FTX collapse—the rapid unravelling of one of the world’s biggest scams—is certainly
   one of recent history’s greatest ﬁnancial disasters. For over a year, Plaintiﬀs and MDL Counsel
   have worked tirelessly to eﬃciently litigate these claims to beneﬁt all FTX Victims. Today, those
   eﬀorts begin to bear fruit. Plaintiﬀs are proud to announce to the Court the ﬁrst tranche of proposed
   Class Settlements, made with many FTX Insiders and Promoters. 1 �ese proposed Settlements
   result from the tremendous eﬀorts of (1) the Honorable Michael Hanzman (Ret.), who has
   conducted numerous mediations in this matter to date, (2) the Honorable Lewis Kaplan of the
   Southern District of New York, who presided over Sam Bankman-Fried’s criminal trial, and the
   pleas of the Insider Settling Defendants, and (3) Proposed Class Representatives 2 like Sunil
   Kavuri, who provides his Supporting Declaration, see Exhibit A, detailing his involvement in
   these proceedings and his support for the proposed Settlements, see Composite Exhibit B.3
          Mr. Kavuri has dedicated a signiﬁcant amount of time to this action, including weekly
   meetings with counsel to review pleadings and developments in the litigation, attending mediations
   and participating in settlement discussions, speaking and coordinating meetings with tens of
   thousands of other FTX victims across the globe, and serving on various unoﬃcial FTX
   Bankruptcy Committees, all at his own expense. Ex. A ¶¶ 3–4. He also prepared and submitted a
   comprehensive Victim Impact Statement and will be presenting at Mr. Bankman-Fried’s
   sentencing hearing tomorrow, March 28, 2024. Id. ¶ 5.
          As a result of Plaintiﬀs’ and MDL Counsel’s eﬀorts, aided in large part by Judge Hanzman,
   all Settling Defendants have provided, and will continue to provide, invaluable information,
   materials, and cooperation to enable the prosecution of the dozens of MDL Defendants named thus
   far (and those yet to be named). While Plaintiﬀs still do not have any cooperation from the


   1
     Defendants Caroline Ellison, Zixiao “Gary” Wang, Nishad Singh (collectively, “Insider Settling
   Defendants”), Daniel Friedberg (“Mr. Friedberg”), Kevin Paﬀrath, Tom Nash, Brian Jung, Andrei
   Jikh, Jeremy Lefebvre, Graham Stephan, and William Trevor Lawrence (collectively, “Promoter
   Settling Defendants”) (“Settling Defendants” will refer collectively to Insider Settling Defendants,
   Mr. Friedberg, and Promoter Settling Defendants).
   2
     Leandro Cabo, Alexander Chernyavsky, Chukwudozie Ezeokoli, Edwin Garrison, Ryan
   Henderson, Shengyun Huang, Sunil Kavuri, Michael Livieratos, Michael Norris, Brandon Orr,
   Julie Papadakis, Gregg Podalsky, Kyle Rupprecht, Vijeth Shetty, Vitor Vozza, and Warren Winter.
   3
     Compiling B1 (Ellison), B2 (Wang), B3 (Singh), B4 (Friedberg), B5 (Paﬀrath), B6 (Nash), B7
   (Jung), B8 (Jikh, Lefebvre, and Stephan), and B9 (Lawrence) (together “Settlements”).


                                                    1
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 3 of 24




   Bankruptcy Estate, we are extremely pleased that the 3rd Circuit Court of Appeals required the
   appointment of an Independent Examiner in the Bankruptcy proceedings, and Plaintiﬀs have the
   utmost conﬁdence in him and the U.S. Trustee.
          �e Insider Settling Defendants, who have pled guilty in the criminal proceedings against
   them, have agreed to full restitution and forfeiture, and to have Judge Kaplan decide and coordinate
   in his court how the FTX victim funds recovered from them will be provided to the FTX victims.
   Many FTX Victims, including Mr. Kavuri, have already requested to Judge Kaplan that,
   particularly in light of the troubling facts raised in connection with potential conﬂicts, wasted
   resources, and other issues plaguing the Bankruptcy Estate, that the funds would best serve the
   FTX Victims by routing them through the FTX MDL under the careful supervision of this Court.
          �e Insider Settling Defendants have also already begun providing information and
   discovery in the form of testimony, documents in their possession, custody, and control, proﬀer,
   and/or attorney proﬀer (subject to any limitations imposed by the Department of Justice and the
   court), to assist Class Members in prosecuting the FTX MDL. 4 Mr. Friedberg likewise is
   cooperating with MDL Plaintiﬀs and has already provided multiple declarations to assist Plaintiﬀs
   with their claims against other, non-settling MDL Defendants. And the Promoter Settling
   Defendants have agreed to provide collective $1,359,485 in monetary relief and cooperation
   (based upon their individual facts) in exchange for reaching these early settlements, which will be
   held in the Settlement Fund pending further order on distribution to the FTX Class Members. �e
   Settling Defendants’ cooperation has already assisted Plaintiﬀs and MDL Counsel in bringing
   additional claims and substantiated allegations against non-settling MDL Defendants (like Deltec
   Bank and Jean Chalopin), as well as additional actions against other culpable parties.



   4
     Insider Settling Defendants also agree to assign or otherwise pay to the Class any money, claims,
   insurance assets or refunds that they may receive related to their employment at FTX, subject to
   any limitations imposed by the Department of Justice, or by a court order. Insider Settling
   Defendants further acknowledge the Class, which includes FTX customers who liquidated before
   the FTX bankruptcy ﬁling, is broader than the FTX customers listed as bankruptcy creditors, and
   agree they will take no position with respect to the Class seeking monetary compensation from
   Settling Defendants through the restitution process provided by the Mandatory Victims Restitution
   Act (“MVRA”), 18 U.S.C. § 3663A, or recovery of funds forfeited by Insider Settling Defendants
   pursuant to 18 U.S.C. §§ 981, 3554 or 28 U.S.C. § 2461(c), or with respect to the Class’s position
   that such recoveries should ﬂow through the FTX MDL.


                                                    2
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 4 of 24




          Plaintiﬀs have also retained the services of acclaimed legal notice experts JND Legal
   Administration LLC (“JND”), to craft a Notice Plan in order to provide the best notice practicable
   to the Class, which is in line with the court-approved program they created for another recent
   cryptocurrency matter, In re Ripple Labs Inc. Litig., No. 18-cv-06753-PJH, ECF No. 359 (N.D.
   Cal. Jan. 26, 2024). �is robust Notice Plan, as explained in the Declaration of Gina Intrepido-
   Bowden, attached as Exhibit C, will provide the best notice practicable, consistent with the
   methods and tools employed in other court-approved notice programs and to allow Class Members
   the opportunity to review a plain language notice with the ability to easily take the next step and
   learn more about the litigation. Id., ¶ 12.
          Proposed Class Representatives therefore request the Court: (1) grant preliminary approval
   of the Settlements; (2) grant certiﬁcation of the Proposed Settlement Class; (3) appoint Class
   Representatives as Rule 23(c) class representatives; (4) appoint MDL Co-Lead Counsel, Adam
   Moskowitz of �e Moskowitz Law Firm, PLLC and David Boies of Boies Schiller Flexner LLP
   as Co-Lead Class Counsel pursuant to Fed R. Civ. P. 23(c)(1)(B) and 23(g); (5) approve the
   proposed plan of notice to the Class pursuant to Fed. R. Civ. P. 23(e) and set a schedule for
   disseminating notice to Class Members, as well as deadlines to comment on or object to the
   Settlements; and (6) schedule a hearing pursuant to Fed. R. Civ. P. 23(e)(2) to determine whether
   the proposed Settlements are fair, reasonable, and adequate; and should be approved.
   I.     LITIGATION OVERVIEW
          The FTX MDL
          FTX, the cryptocurrency exchange platform (comprised of FTX.US and FTX.com),
   collapsed in early November 2022 and on November 11, 2022, the FTX Group ﬁled for Chapter
   11 bankruptcy protection. Numerous class and individual actions arose from the FTX Group’s
   collapse, beginning on November 15, 2022, when Edwin Garrison ﬁled a class action complaint
   and demand for jury trial captioned Edwin Garrison v. Sam Bankman-Fried, et al., Case 1:22-cv-
   23753, before this Court (“Garrison”), asserting, on behalf of himself and a class of similarly-
   situated individuals, claims against Insider Settling Defendants and others arising from the collapse
   of the FTX cryptocurrency trading platform. In conjunction with that complaint, Mr. Friedberg
   provided valuable information regarding FTX’s Miami-based oﬃce and business operations.
          On June 5, 2023, the JPML consolidated for coordinated pretrial proceedings dozens
   of individual and class actions arising from the collapse of the FTX cryptocurrency trading platform



                                                    3
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 5 of 24




   into a multidistrict litigation (MDL) action and transferred the FTX MDL to this Court because
   “[a] signiﬁcant portion of FTX’s conduct allegedly emanated from this district, where it had its
   U.S. headquarters before ﬁling for bankruptcy.” ECF No. 1. The JPML explained, id.:
       �ese actions present common questions of fact concerning the collapse of the FTX
       cryptocurrency exchange in November 2022, which allegedly was caused by the conduct
       of FTX former principals Sam Bankman-Fried, Zixiao “Gary” Wang, and Nishad Singh,
       and ﬁnancial improprieties with Alameda Research. All actions allege that FTX
       executives fraudulently withheld or misrepresented information with respect to customer
       assets on the FTX platform and that the professional service and investment ﬁrms and
       celebrity promoters who worked with FTX were complicit in or otherwise bear
       responsibility for the alleged fraud – for example, by concealing FTX’s ﬁnancial problems
       or promoting FTX products with knowledge or willful blindness of the alleged fraud.
          In   August    2023,      Class Representatives ﬁled interlocking omnibus Consolidated
   Administrative Class Action Complaints for each of the interrelated FTX Insider, Promoter
   and Digital Creator, Domestic VC, Multinational VC, Accounting Firm, Law Firm, and Bank
   Defendant Tracks, on behalf of “all persons or entities … who, within the applicable limitations
   period, purchased or held legal title and/or beneﬁcial interest in any ﬁat or cryptocurrency
   deposited or invested through an FTX Platform, purchased or enrolled in a YBA or purchased
   FTT.” �e Consolidated Administrative Class Action Complaints share core allegations relating
   to the FTX cryptocurrency exchange, YBAs, FTT, and the underlying FTX fraud, asserting that
   defendants from every track aided, abetted, or otherwise participated in a central conspiracy to
   promote unregistered securities and to misappropriate customer funds on the FTX cryptocurrency
   exchange. Each complaint likewise attaches Mr. Friedberg’s declaration.
          MDL Defendants moved to dismiss pursuant to Rule 12(b)(6), and certain defendants
   moved pursuant to Rule 12(b)(2) for dismissal of the Consolidated Administrative Class
   Action Complaints for lack of personal jurisdiction in Florida and elsewhere and Rule 12(b)(5) for
   insuﬃcient service of process.
          Over the course of the following months, some of the Settling Defendants (and other MDL
   Defendants who decided not to settle) agreed to attend mediation sessions before the Honorable
   Michael Hanzman (Ret.), who facilitated vigorous arm’s-length negotiations and provided his
   expert input into the claims and defenses at issue, their strengths and weaknesses, and proposed
   terms to amicably resolve the disputes. Judge Hanzman’s involvement certainly informed Plaintiﬀs
   and Class Counsel in subsequent negotiations with other Settling Defendants at arm’s length so
   that all aspects of the litigation and settlements were considered in full before resolving them.


                                                    4
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 6 of 24




          From December 2023 to February 1, 2024, Class Representatives and certain defendants
   engaged in jurisdictional discovery. Over the same period, Class Counsel engaged with counsel
   for Settling Defendants to discuss amicable settlement and, where possible, to obtain information
   regarding MDL Defendants that would be useful in supplementing arguments in favor of personal
   jurisdiction. �e Insider Settling Defendants, in particular, were instrumental in detailing their
   dealings with certain MDL Defendants as well as FTX’s and MDL Defendants’ contacts with
   relevant jurisdictions in the United States, such as producing thousands of Telegram messages
   between Alameda employees, Tether employees, and Deltec employees, which demonstrate Deltec
   Banks’s and Jean Chalopin’s knowledge of and participation in the FTX fraud.
          On February 16, 2024, Class Representatives moved for leave to ﬁle supplemental
   oppositions to the motions to dismiss and/or to amend the relevant Complaints to include
   information learned via jurisdictional discovery, proﬀers with Settling Defendants, or other recent
   public sources. �ose motions remain fully briefed and pending decision.
          The FTX Criminal Proceedings
          On December 13, 2022, an eight-count indictment against Sam Bankman-Fried was
   unsealed, including charges of securities fraud, wire fraud, and several conspiracy counts involving
   money laundering and campaign ﬁnance violations, for misappropriating FTX customer deposits
   by way of loans and other transfers to Alameda, among other fraudulent conduct.
          On December 19, 2022, Defendants Ellison and Wang waived indictment by the U.S.
   Attorney, consented to the ﬁling of a Superseding Information, and pleaded guilty to criminal
   oﬀenses arising from the collapses of the FTX cryptocurrency exchange, including fraud oﬀenses
   arising from “a scheme to defraud customers of FTX.com.” Defendant Singh did the same on
   February 28, 2023. In pleading guilty, Insider Settling Defendants agreed to cooperate with the
   DOJ investigation and prosecution of Sam Bankman-Fried, to make restitution in an amount to be
   speciﬁed by the court in accordance with 18 U.S.C. §§ 3663, 3663A, and 3664, to be paid
   according to a plan established by the court, and to forfeit to the United States, pursuant to 18
   U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any and all property, real and personal, that
   constitutes or is derived from proceeds traceable to the commission of or involved in the oﬀenses.
          �e Honorable Lewis A. Kaplan of the Southern District of New York is presiding over the
   criminal proceedings against Samuel Bankman-Fried and other FTX insiders, including Insider
   Settling Defendants. �roughout 2023, Judge Kaplan unsealed superseding indictments against



                                                    5
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 7 of 24




   Bankman-Fried, which ultimately charged Bankman-Fried with a total of thirteen criminal counts.
   Insider Settling Defendants provided information and testimony at the October 2023 trial, which
   is commonly relevant to each of Class Representatives’ Complaints. For instance, Defendant
   Ellison testiﬁed to key allegations, including that Samuel Bankman-Fried “set up a system that
   allowed Alameda to borrow from FTX” in the “early days at FTX,” Oct. 10, 2023 Tr. at 654:2-6,
   that FTX “always allowed Alameda to … borrow user funds,” that Alameda borrowed “around
   $10 billion of FTX customer funds that [Alameda] had no way to repay, meaning that [FTX] wasn’t
   a safe place for customers to keep their money”, Oct. 11, 2023 Tr. at 862:9-11, and other facts
   relating to criminal conduct by Sam Bankman-Fried underlying Class Representatives’ claims.
   Defendant Wang provided testimony related to key allegations common to each of Class
   Representatives’ Consolidated Administrative Class Action Complaints, including that FTX.US
   “gave special privileges to Alameda Research on FTX, which allowed it to withdraw unlimited
   amounts of funds from the platform, and we lied about this to the public,” Oct. 5, 2023 Tr. at
   304:14–16. Defendant Singh provided testimony that FTX Trading and FTX.US permitted the use
   of customer deposits to invest in MDL Defendants, and other ways in which FTX Group
   misappropriated customer funds.
          On November 3, 2023, the October 2023 trial concluded, and the jury convicted Sam
   Bankman-Fried on seven counts including wire fraud, money laundering, and related conspiracies
   arising from the multi-billion-dollar fraud perpetuated through FTX Group.
          Based on the evaluation of the facts and the law, the Settling Parties hereto have agreed
   (subject to court approval) to Settlements covering all persons or entities who purchased or held
   legal title to and/or beneﬁcial interest in any ﬁat or cryptocurrency deposited or invested through
   an FTX Platform, purchased or enrolled in a YBA, or purchased FTT, excluding the FTX Group
   and the FTX MDL Defendants.
   II.    Settlement Consideration
                  A.     Insider Settling Defendants
          In consideration for full and ﬁnal settlement of the claims asserted against Insider Settling
   Defendants in the FTX MDL and the Releases set forth therein and other consideration described
   in the Settlement Agreements (Exs. B1–B3, ¶¶ 5.12, 6.1–6.5), Insider Settling Defendants will
   provide to the Settlement Class, subject to any limitations imposed by the DOJ or by a court order:




                                                   6
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 8 of 24




         1. information and discovery to assist the Class in litigating this MDL. Exs. B1–B3, ¶ 5.6.
         2. reasonable eﬀorts to cooperate, including producing nonprivileged documents, shall
            further provide reasonable assistance in reviewing and clarifying documents, and shall
            cooperate in good faith and use reasonable eﬀorts to authenticate, establish as business
            records and provide foundation for documents or things they produce per these
            Settlements. Exs. B1–B3, ¶ 5.7.
         3. up to ﬁve proﬀer sessions, plus up to an additional ﬁve proﬀer sessions, and make him
            or herself available for deposition and/or trial, without service of a subpoena, upon
            reasonable notice, and provide truthful declarations or aﬃdavits upon request, with
            respect to, though not necessarily limited to, any non-privileged information regarding
            speciﬁc defendants and accomplices listed in each Insider Settlement Agreement. Exs.
            B1–B3, ¶ 5.7.11.
         4. an assignment to the Class of any and all not yet paid monies (including, without
            limitation, proceeds of insurance and refunds of unearned premiums) due or to become
            due and not yet paid under any and all claims or other rights of Insider Settling
            Defendants with respect to any and all policies of insurance now or at any time hereafter
            covering their employment with the FTX Group. Exs. B1–B3, ¶ 5.8.
         5. an assignment to the Class of any demands, claims, and/or causes of action of every
            kind and nature, in law, equity, or otherwise, that they may have against FTX Group
            and/or other third party, known and unknown, existing either before or after discharge
            of the Debtors from the Bankruptcy Proceeding, arising from and/or in connection to
            Defendants’ interest in and/or employment by FTX Group, subject to any limitations
            imposed by the Department of Justice and/or a court order. Exs. B1–B3, ¶ 5.9.
         6. Insider Settling Defendants will take no position with respect to Class Representatives’
            contention that Class Members are identiﬁed as victims of the criminal conduct charged
            to Insider Settling Defendants in the Superseding Information, and are entitled to
            restitution under the MVRA, pursuant to a plan established by the Southern District of
            New York, and/or to recovery of funds forfeited by Settling Defendants pursuant to 18
            U.S.C. §§ 981, 3354 or 28 U.S.C. § 2461(c). Insider Settling Defendants will therefore
            take no position with respect to Class Representatives pursuing monetary compensation
            through the restitution process provided by the MVRA or through the forfeiture process
            provided by 18 U.S.C. § 981, nor will Insider Settling Defendants take any position
            with respect to Class Representatives’ request that, should any monies be collected in
            satisfaction of any money judgment that the Southern District of New York entered
            against Insider Settling Defendants as part of their sentencing, Class Members shall
            receive distributions of the collections through the Southern District of New York or
            successor processes. Exs. B1–B3, ¶ 5.10.
         7. Insider Settling Defendants will take no position with respect to Class Representatives’
            and Class Counsel’s position that Class Members comprise the broadest group of
            victims, holding in the aggregate, the largest claim for losses, such that restitution under




                                                   7
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 9 of 24




               the MVRA and/or recovery of funds forfeited by Defendants pursuant to 18 U.S.C. §§
               981, 3554 or 28 U.S.C. § 2461(c) should ﬂow through this MDL. Exs. B1–B3, ¶ 5.11.
          8. reasonable eﬀorts to support the transfer of the claims against them in the Onusz
             Adversary Proceeding to this MDL pursuant to 28 U.S.C. § 1407. Exs. B1–B3, ¶ 5.3.
          2. Mr. Friedberg
          In consideration for full and ﬁnal settlement of the claims asserted against Mr. Friedberg
   in the FTX MDL and in consideration of the Releases set forth therein, Ex. B4, ¶¶ 6.1–6.5, Mr.
   Friedberg will provide information to assist the Class in prosecuting the FTX MDL, in the form of
   Mr. Friedberg’s testimony, documents, proﬀers, and/or attorney proﬀers. Ex. B4, ¶ 5.2.3.
          Mr. Friedberg’s cooperation shall include voluntarily producing, without service of a
   subpoena, (1) all non-privileged documents he produced to Debtors in connection with the
   Bankruptcy Proceeding, except to the extent such documents are irrelevant to the FTX MDL and
   are of a sensitive personal nature; and (2) additional, non-privileged documents and/or data
   relevant to certain topics identiﬁed by Class Counsel. �e cooperation will extend to voluntarily
   providing reasonable and truthful assistance in analyzing and clarifying documents, whether
   produced by Class Representatives or another party in the FTX MDL, the Criminal Proceedings,
   and/or the Bankruptcy Proceedings. It will further extend to voluntary eﬀorts to authenticate,
   establish as business records, and provide other foundation for documents and things Mr. Friedberg
   produces. Ex. B4, ¶ 5.2.3.1–.4.
          Mr. Friedberg shall sit for up to ﬁve proﬀer sessions, with an opportunity for Class Counsel
   to seek an additional ﬁve such sessions should they become reasonably necessary to the
   prosecution of this MDL, and reasonably make himself available for depositions, and/or trial,
   without service of a subpoena, upon reasonable notice, and provide declarations or aﬃdavits
   relevant to the FTX MDL upon request. Ex. B4, ¶ 5.2.3.5.
          3.      Promoter Settling Defendants
          In consideration for full and ﬁnal settlement of the claims asserted against Promoter
   Settling Defendants in the FTX MDL and in consideration of the Releases set forth therein,
   Promoter Settling Defendants will contribute to a common fund a combined $1,359,485.00 to fund
   the class settlement in exchange for release of the claims against them, as more speciﬁcally set
   forth in their respective Settlement Agreements. Ex. B5, § IV.A; Ex. B6, § IV.A; Ex. B7, § IV.A;
   Ex. B8, § IV.A; Ex. B9, § 8.




                                                   8
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 10 of 24




            Defendant Jung will further provide agreed-upon cooperation to Class Representatives and
    Class Counsel. To the extent that such cooperation results in recovery of additional funds for Class
    Representatives and Class Counsel, Defendant Jung shall be entitled to twenty-five (25) cents on
    each dollar returned up to a limit of $180,000. Ex. B7, § IV.B.
            Defendants Jikh, Stephan, and Lefebvre will also assign any and all claims they may have
    against any and all third parties to the Plaintiff Class, regarding any of the allegations raised in this
    action. Ex. B8, § IV.C.i. In the event that any such third parties attempt to assert counterclaims
    against these Defendants for such assigned claims, the Plaintiff Class will provide legal defense
    and bear the attorneys’ fees and costs for such defense. Id. They will further continue to provide
    Plaintiffs with sworn statements, documents, and ongoing cooperation in Plaintiffs’ pursuit of
    claims against other third parties and MDL defendants. Ex. B8, § IV.C.ii.
    III.    Settlement Class Certiﬁcation
            �e Settlements require conditional certiﬁcation of the Class, pursuant to Federal Rule of
    Civil Procedure 23(b)(1) or, in the alternative, 23(b)(3). Parties agree that for Settlement purposes
    only and pursuant to the terms of the Settlements, the Class Representatives will serve as class
    representative plaintiﬀs and Adam Moskowitz of �e Moskowitz Law Firm, PLLC and David
    Boies of Boies Schiller Flexner LLP will serve as Co-Lead Class Counsel pursuant to Federal Rule
    of Civil Procedure 23(c). �e Settlements are conditional on the Court’s approval thereof. In the
    event the Court does not approve all terms of the Settlements, then certiﬁcation of the Class will
    be voided as to such Settlements, and all orders entered in connection therewith, including but not
    limited to any order conditionally certifying the Class, will be voided. Exs. B1–B3, ¶¶ 5.1–5.3;
    Ex. B4, ¶ 5.1.1–.3; Exs. B5–B8, § III, Ex. B9, § 6.
                    A.      �e Settlement Class
            �e Settlement Class is “All persons or entities who, within the applicable limitations
    period, purchased or held legal title to and/or beneﬁcial interest in any ﬁat or cryptocurrency
    deposited or invested through an FTX Platform, purchased or enrolled in a YBA, or purchased
    FTT.” To the extent not otherwise included in the Class, Class Members include customers of the
    FTX Group who deposited cash and/or digital assets at either or both of the FTX Group’s U.S.-
    based and non-U.S.-based trading platforms and have been unable to withdraw, use or access the
    billions of dollars in assets that were contractually required to be held safely in accounts on their
    behalf. Excluded from the Classes are MDL Defendants and their oﬃcers, directors, aﬃliates, legal



                                                       9
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 11 of 24




    representatives, and employees, the FTX Group and their oﬃcers, directors, aﬃliates, legal
    representatives, and employees, any governmental entities, any judge, justice, or judicial oﬃcer
    presiding over this matter and the members of their immediate families and judicial staﬀ. Exs. B1–
    B3, ¶ 4.3; Ex. B4, ¶ 4.3; Exs. B5–B6 & 8, § I.S; Ex. B7, § I.T, Ex. B9, § 10.
                   B.      Release of Claims
           In exchange for the consideration being provided by the Settling Defendants, the Class
    Representatives, Settlement Class Members, and each of their respective heirs, executors,
    administrators, assigns, predecessors, and successors, and any other person claiming by, through,
    or under any or all of them, Exs. B1–B3, ¶ 4.34; Ex. B4, ¶ 4.28, and/or Releasing Parties, the
    Settlement Class Representatives and each member of the Settlement Class, by operation of the
    Final Order and Judgment, on his, her, its, or their own behalf and on behalf of his, her, its or their
    predecessors, successors, assigns, assignors, representatives, attorneys, agents, trustees, insurers,
    heirs, next of kin, estates, beneﬁciaries, executors, administrators, and any natural, legal, or
    juridical person or entity that he, she, it or they are entitled to assert any claim on behalf of any
    Settlement Class member, Exs. B5–B8, § V, Ex. B9, § 15, will release the Settling Defendants
    from all claims related to any of the alleged conduct giving rise to this litigation. �e Release and
    the Order of Final Approval, shall be deemed to have fully, ﬁnally, conclusively, irrevocably, and
    forever released, settled, compromised, relinquished, and discharged Settling Defendants of and
    from any and all Released Claims, including Unknown Claims. Without further action by any
    person or the District Court, Class members will be deemed: (a) to have consented to the dismissal
    with prejudice of any and all Released Claims; (b) to have released and forever discharged any and
    all Released Claims; and (c) to be forever barred and enjoined from instituting or further
    prosecuting Settling Defendants, in any forum whatsoever, including but not limited to any state,
    federal, or foreign court, or regulatory agency, or any arbitration forum, each and every Released
    Claim. Exs. B1-B4, ¶¶ 6.1-6.5.
                   C.      Class Notice Provisions
           To the extent the District Court certiﬁes the Class pursuant to Federal Rule of Civil
    Procedure 23(b)(1), the Settlements require notice to be provided to the Class in accordance with
    the Preliminary Approval Order and/or any other order from this Court. Exs. B1–B3, ¶ 7.1; Ex.
    B4, ¶ 7.1.1; cf. Exs. B5–B8, § VI (requiring equivalent Class Notice), Ex. B9, § 3. To the extent
    the District Court certiﬁes the Class pursuant to Federal Rule of Civil Procedure 23(b)(3), subject



                                                      10
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 12 of 24




    to the requirements of the Preliminary Approval Order, within 30 days after its entry, the Parties
    will send, or cause to be sent, a Class Notice to each Class Member. �e Class Notice also will be
    published on the Settlement Website and in industry publications. �e Class Notice will: contain a
    short, plain statement of the background of the Action and the Settlement; describe the settlement
    relief outlined in this Stipulation; state that any relief to Class Members is contingent on the Court’s
    ﬁnal approval of the Settlement; inform Class Members that attorneys’ fees and expenses, and a
    service award for the named plaintiﬀ, will be requested and, if approved by the Court, will be paid
    from the Settlement Fund; inform Class Members that any Final Order and Judgment entered in
    the Action, whether favorable or unfavorable to the Class, shall include, and be binding on, all
    Class Members, even if they have objected to the proposed Settlement and even if they have any
    other claim, lawsuit or proceeding pending against Settling Defendants; describe the terms of the
    Release; and contain reference and a hyperlink to a dedicated webpage established by JND, which
    will include relevant documents and information regarding Class Representatives’ claims against
    Settling Defendants in the FTX MDL. Class Notice will also inform Class Members of their opt-
    out rights. Exs. B1–B3, ¶ 7.3; Ex. B4, ¶ 7.1.2; cf. Exs. B5–B8, § VI (requiring equivalent Class
    Notice), Ex. B9, § 3.
           With respect to Insider Settling Defendants and Mr. Friedberg, such Defendants shall
    determine the form of CAFA Notice to be provided to appropriate state and federal oﬃcials for the
    purpose of satisfying the requirements of CAFA and the identity of those who will receive the
    CAFA Notice. �ey shall be responsible for serving the CAFA Notices and for all costs and
    expenses related thereto. Class Counsel will provide Defendants with information concerning class
    membership required to comply with 28 U.S.C. § 1715(b)(7). Exs. B1–B3, ¶ 7.4. As to Promoter
    Settling Defendants, Class Representatives and Class Counsel shall, within ten days of the
    Agreement’s ﬁling with the Court, provide notice of this Action and Agreement to the appropriate
    federal and state entities in accordance with CAFA. Exs. B5–B8, § VI.F–G, Ex. B9, § 3.
                   D.       Preliminary Approval
           �e Settlements require the prompt ﬁling of a motion for preliminary approval of the
    Settlements and the Notice Provisions. Exs. B1–B4, ¶ 8.1; Exs. B5–B8, § XI, Ex. B9, § 2. Pursuant
    to the Settlements, Class Counsel requests that, after notice is given, and not earlier than one
    hundred (100) calendar days after the later of the dates on which the appropriate federal and state




                                                      11
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 13 of 24




    oﬃcials are provided with notice pursuant to the CAFA, the District Court hold the Final Approval
    Hearing and approve the Settlements. Exs. B1–B4, ¶ 8.2; cf. Exs. B5–B8, § XII, Ex. B9, § 2.
                   E.     Objections
           �e Settlements provide that a Class Member may object to the Settlements. To object, the
    Class Member must comply with the procedures and deadlines approved by the Court. Any Class
    Member who wishes to object to the Settlement must do so in writing on or before the Objection
    Deadline, as speciﬁed in the Class Notice and any Preliminary Approval Order. �e written
    objection must be ﬁled with the Clerk of Court, and mailed (with the requisite postmark) to Class
    Counsel and Defendants’ Counsel (at the addresses identiﬁed in Exs. B1–B4, ¶ 16.14 or Exs. B5–
    B8, § VIII.A), Ex. B9, § 12, no later than the Objection Deadline. Exs. B1–B4, ¶¶ 9.1–9.2; Exs.
    B5–B8, § VIII and Ex. B9, § 12. �e requirements to assert a valid written objection shall be set
    forth in the Class Notice. Exs. B1–B4, ¶¶ 9.3–9.4; Exs. B5-B8, § VI.A.1.d; Ex. B9, § 12.
            Subject to Court approval, any Class Member who ﬁles and serves a written objection may
    appear, in person or by counsel, at the Final Approval Hearing held by the District Court, to show
    cause why the proposed Settlement should not be approved as fair, adequate, and reasonable, but
    only if the objecting Class Member: (a) ﬁles with the Clerk of the District Court a Notice of
    Intention to Appear at the Final Approval Hearing by the Objection Deadline; and (b) serves the
    Notice of Intention to Appear on all counsel designated in the Class Notice by the Objection
    Deadline. Exs. B1–B4, ¶ 9.5; Exs. B5–B8, § VIII.D; Ex. B9, § 12. �e Notice of Intention to
    Appear must include copies of any papers, exhibits, or other evidence that the objecting Class
    Member will present to the District Court in connection with the Final Approval Hearing. Id.
                   F.     Settlement Distribution
           If and when monetary compensation from Insider Settling Defendants is provided to the
    Settlement Class through the FTX MDL, pursuant to the MVRA or otherwise, the Settlement
    Amount shall be placed in the Settlement Fund, added to settlement amounts from other MDL
    Defendants, as such settlements are reached, and distributed in accordance with the Distribution
    Plan and under the supervision and direction and with the approval of the District Court. Exs. B1-
    B3, ¶ 10; cf. Ex. B4, ¶ 10. Similarly, with respect to the Promoter Settling Defendants, the
    Settlements provide that monetary relief shall be paid to a common fund to fund the Class
    Settlement, which funds shall be paid out according to a plan approved by the court. See Exs. B5-
    B6, § IV.A., .D; Ex. B7, § IV.A., .E; Ex. B8, § IV.A–.B, .E; Ex. B9, § 11.



                                                    12
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 14 of 24



                   G.      Attorneys’ Fees and Expenses
           1.      Insider Settling Defendants
           �e Parties agree that Class Counsel may apply for an award of reasonable attorneys’ fees
    and reimbursement of expenses to be paid from the Settlement Fund. Speciﬁcally, Class Counsel
    intends to request approval of attorneys’ fees and costs based on any monetary compensation
    obtained for the Class pursuant to the restitution and/or forfeiture procedures outlined in ¶¶ 5.9-
    5.11. Any such future request for attorneys’ fees and reimbursements will be made by separate
    motion, at an appropriate time and in accordance with Federal Rules of Civil Procedure 23(h) and
    54(d)(2). Settling Defendants agree not to oppose Class Counsel’s request for attorneys’ fees and
    expenses at the appropriate time. Class Counsel reserves the right to seek the foregoing fees and
    expenses from monetary settlements or judgments obtained from or against other MDL
    Defendants, as the information provided to Class Representatives and Class Counsel by Settling
    Defendants will be used to eﬀectuate settlements with or judgments against the other MDL
    Defendants.
           �e procedure for and the allowance or disallowance by the District Court of any
    applications for attorneys’ fees and expenses to be paid out of the Settlement Fund is not set forth
    in these Settlements, and will be considered by the District Court separately from the District
    Court’s consideration of these Settlements, and shall have no eﬀect on the terms of the Settlements
    or on the validity or enforceability of these Settlements. Exs. B1–B3, ¶¶ 11.1–11.4.
           2.      Mr. Friedberg
           �e Parties agree Class Counsel may apply for an award of reasonable attorneys’ fees and
    reimbursement of expenses to be paid from the Settlement Fund. Ex. B4, ¶ 11.1. Mr. Friedberg
    agrees not to oppose any such request, except if Class Counsel seeks from Mr. Friedberg any fees
    and expenses or consideration not expressly provided for in the Settlement. Ex. B4, ¶ 11.2.
           �e procedure for and the allowance or disallowance by the District Court of any
    applications for attorneys’ fees and expenses to be paid out of the Settlement Fund is not set forth
    in this Settlement, and will be considered by the District Court separately from the District Court’s
    consideration of this Settlement, and shall have no eﬀect on the terms of the Settlement or on the
    validity or enforceability of these Settlement. Ex. B4, ¶¶ 11.1–11.4.
           3.      Promoter Settling Defendants
           �e Parties agree that Class Counsel may petition the Court for an award of Attorneys’ Fees
    and Expenses in an aggregate amount not to exceed thirty three percent (33%) of the Settlement


                                                     13
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 15 of 24



    Funds. Exs. B5-B8, § X.A; Ex. B9, § 14. Class Counsel’s motion for Attorneys’ Fees and Expenses
    shall be ﬁled no later than fourteen (14) days before the Objection/Exclusion Deadline. Id.
    Promoter Settling Defendants reserved the right to oppose any such petition that they deem to be
    unreasonable in nature or amount or otherwise objectionable. Id.
           �e eﬀectiveness of the Settlements will not be conditioned upon or delayed by the Court’s
    failure to approve any petition by Plaintiﬀs and Class Counsel for Attorneys’ Fees and Expenses.
    �e denial, downward modiﬁcation, or failure to grant any petition by Plaintiﬀs and Class Counsel
    for Attorneys’ Fees and Expenses shall not constitute grounds for modiﬁcation or termination of
    this Agreement or the Settlement proposed herein. Id.
    IV.    THE PROPOSED SETTLEMENTS SHOULD BE PRELIMINARILY APPROVED
           A.      Standards for Preliminary Approval of a Proposed Settlement
           A class action may be settled only with the approval of the Court. See Fed. R. Civ. P.
    23(e)(1). �e Rule 23(e) settlement approval procedure has three principal steps: (1) preliminary
    approval of the proposed settlement; (2) dissemination of notice of the settlement to all aﬀected
    Class Members; and (3) a ﬁnal approval determination following a fairness hearing at which Class
    Members may be heard regarding the settlement, and at which counsel may introduce evidence
    and present arguments concerning the fairness, adequacy, and reasonableness of the settlement.
    See 4 William B. Rubenstein, Albert Conte & Herbert Newberg, Newberg on Class Actions §§
    13:39 et seq. (5th ed. 2014).
           Preliminary approval of a settlement agreement requires only an “initial evaluation” of the
    fairness of the proposed settlement on the basis of the written submissions. Encarnacion v. J.W.
    Lee, Inc., No. CV 14-61927, 2015 WL 12550747, at *1 (S.D. Fla. June 30, 2015) (unpublished).
    To grant preliminary approval, the Court should determine whether the proposed settlement
    substantively falls “within the range of possible approval” or reasonableness. Id.; See also, 4 Albert
    Conte & Herbert Newberg, Newberg on Class Actions § 11.25 (4th ed. 2002). �e Court should
    approve a proposed class action settlement where it is “fair, adequate and reasonable and is not the
    product of collusion between the parties.” Saccoccio v. JP Morgan Chase Bank, N.A., 297 F.R.D.
    683, 691 (S.D. Fla. 2014) (citing Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984).
    Public policy favors settlements, particularly where complex class action litigation is concerned.
    In re Equifax Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247, 1273 (11th Cir. 2021). �e
    proposed Settlement here satisﬁes the standard for preliminary approval because: (1) it is



                                                     14
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 16 of 24



    reasonable; (2) it is the product of arm’s-length negotiations between the parties and (3) Class
    Representatives and Class Counsel believe it is in the best interest of the Settlement Class.
                   1.      �e Settlements are Reasonable
           To grant preliminary approval of the proposed Settlement, the Court need only ﬁnd that it
    falls within “the range of reasonableness.” Alba Conte et al., Newberg on Class Actions § 11.25,
    at 11–91 (4th ed. 2002); see also Manual for Complex Litigation (Fourth) (2004) § 21.632
    (characterizing the preliminary approval stage as an “initial evaluation” of the fairness of the
    proposed settlement made by the court on the basis of written submissions and informal
    presentation from the settling parties). Plaintiﬀs seek class-wide relief from the (1) Insider Settling
    Defendants, who owned and/or managed FTX entities and participated directly or materially aided
    and abetted the fraudulent scheme; (2) Mr. Friedberg, who served as in-house counsel at FTX and
    has personal knowledge regarding FTX’s oﬃces and business operations as well as MDL
    Defendants’ furtherance of those operations, and (3) Promoter Settling Defendants, who are a
    group of inﬂuencers paid by FTX to present it to their followers as a safe and legitimate alternative
    to other cryptocurrency exchanges.
                   a.      Insider Settling Defendants and Mr. Friedberg
           As consideration for the Settlements, Insider Settling Defendants and Mr. Friedberg have
    agreed to cooperate with Plaintiﬀs in the prosecution of Class Members’ claims in this matter and
    to provide information to establish liability for other defendants. Such consideration is imminently
    reasonable. In accordance with the Settlement Agreements, the Insider Settling Defendants and
    Mr. Friedberg have already begun to cooperate with Plaintiﬀs and have provided to Plaintiﬀs
    information with tremendous value to Plaintiﬀs’ prosecution of their claims in this matter. Each
    Insider Settling Defendant has met with counsel to Plaintiﬀs for an initial proﬀer session and
    produced documents and other materials helpful to Plaintiﬀs’ claims, including, for example, 7,000
    pages of text messages between certain Insider Settling Defendants and other Defendants in this
    matter. Class Counsel have reduced these initial proﬀer sessions to writing and employed the
    resultant declarations in conjunction with supplemental briefs in opposition to dismissal and/or
    amended complaints on February 16, 2024. Similarly, Mr. Friedberg has held multiple discussions
    with Class Counsel regarding FTX’s oﬃces and business operations and has executed declarations
    used in conjunction with Plaintiﬀs’ ﬁlings in this action. �e Insider Settling Defendants and Mr.
    Friedberg have agreed to continue to cooperate with Plaintiﬀs in this way.



                                                      15
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 17 of 24



           In contrast to the immediate beneﬁts of the Settlements to this case, including the
    information Defendants Ellison, Wang, and Singh have already started to provide to the Plaintiﬀs
    and the Class, the outcome of continued litigation, trial and potential appeal is uncertain and could
    add years to this litigation. �ough Insider Settling Defendants have pled guilty, continuing the
    civil action against them would be duplicative of the parallel criminal actions, and Insider Settling
    Defendants might prevail in motion practice, at trial, or on appeal, resulting in no relief to the
    Class. �e outcome of litigation against Mr. Friedberg is also uncertain and likewise presents a risk
    of failure. �is weighs in favor of preliminary approval. Moreover, the Insider Settling Defendants
    have pled guilty to numerous federal charges related to the common issues and will be required to
    provide restitution to their victims, including Class Members, as a part of their criminal
    prosecutions in an amount to be speciﬁed by the United States District Court for the Southern
    District of New York in accordance with 18 U.S.C. §§ 3663, 3663A, and 3664, to be paid according
    to a plan established by the court, and to forfeit to the United States, pursuant to 18 U.S.C. §§
    981(a)(1)(C), 3554 and 28 U.S.C. § 2461(c), any and all property, real and personal, that constitutes
    or is derived from proceeds traceable to the commission of or involved in the oﬀenses set forth in
    the Superseding Informations ﬁled against each Defendant. �is statutorily-mandated restitution
    process will require Insider Settling Defendants to make ﬁnancial disclosures, identify Insider
    Settling Defendants’ assets, clear title to those assets such that they may be liquidated and fund
    recovery to victims of the FTX fraud, including Plaintiﬀs and Class Members. �e restitution
    process will be administered by the United States District Court for the Southern District of New
    York with full transparency and due process. Plaintiﬀs’ counsel will participate in the restitution
    process and maximize monetary recovery to Class Members to the fullest extent possible.
           Ultimately, Insider Settling Defendants and Mr. Friedberg have agreed to provide the relief
    sought on behalf of the Settlement Class—namely, they have oﬀered to cooperate with the
    Plaintiﬀs and the Class and provide information crucial to establishing liability for other
    defendants. In sum, the Settlements provide substantial, meaningful relief to all Settlement Class
    Members based on the strengths of their claims without delay and the settlement is reasonable,
    particularly in light of the duplicative nature of the monetary relief sought and the risks that
    Settlement Class Members would face in further litigation.
                   b.      Promoter Settling Defendants
           As outlined above, Promoter Settling Defendants are inﬂuencers paid by FTX to promote
    the exchange to their followers. In exchange for release of the claims against them, the Promoter


                                                     16
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 18 of 24



    Settling Defendants have agreed to provide monetary relief and cooperation to Class
    Representatives and Class Members. Plaintiﬀs are unlikely to collect more even after a full trial
    on the merits against these Defendants, although proceeding to trial would drastically increase the
    expense of the litigation and presents an inherent risk of failure. Moreover, adding to the risk of
    no recovery absent settlement are that motions to dismiss remain pending, and some Promoter
    Settling Defendants maintain motions on multiple grounds, including personal jurisdiction. �e
    Settlements with the Promoter Settling Defendants are reasonable.
                   2.        �e Settlements are the Product of Arm’s-Length Negotiations
           Where a settlement is the product of arm’s-length negotiations conducted by capable and
    experienced counsel, the court begins its analysis with a presumption that the settlement is fair and
    reasonable. See 4 Newberg § 11.41; See also Morgan v. Pub. Storage, 301 F. Supp. 3d 1237, 1247
    (S.D. Fla. 2016). Here, the Settlements were reached after informed, extensive arm’s-length
    negotiations. Each Settling Defendant was individually represented by experienced counsel.
    Getting relevant information from the Insider Settling Defendants and Mr. Friedberg that can be
    used to prosecute other defendants is the best possible outcome in this matter, especially where
    Insider Settling Defendants will already be subject to providing restitution to their victims,
    including the Settlement Class, in a parallel criminal proceeding. �e monetary relief aﬀorded by
    the Promoter Settling Defendants’ Settlements also presents the best possible outcome considering
    the costs and risks of continued litigation and the limited likelihood of obtaining a greater recovery
    due to Promoter Settling Defendants’ relatively insigniﬁcant payments from FTX. �e Settlements
    were reached after an extensive investigation into the factual underpinnings of the practices
    challenged in the civil action, as well as the applicable law. In addition to their pre-ﬁling eﬀorts,
    Class Counsel engaged in extensive research, including the review of documents, facts and
    testimony provided in the FTX-related bankruptcy and criminal proceedings. Nothing in the course
    of the negotiations or in the substance of the proposed Settlements present any reason to doubt the
    Settlement’s fairness.
                   3.        �e Recommendation of Experienced Counsel Favors Approval.
           In considering a proposed class settlement, “[t]he recommendations of plaintiﬀs’ counsel
    should be given a presumption of reasonableness.” In re Blue Cross Blue Shield Antitrust Litig.,
    No. 2:13-CV-20000-RDP, 2020 WL 8256366, at *26 (N.D. Ala. Nov. 30, 2020) (unpublished).
    Here, Class Counsel endorses the Settlement as fair, adequate, and reasonable. Class Counsel have
    extensive experience litigating and settling consumer class actions and other complex matters and


                                                     17
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 19 of 24



    have conducted an extensive investigation into the factual and legal issues raised in this action.
    Class Counsel have weighed the beneﬁts of the Settlement against the inherent risks and expense
    of continued litigation, and they strongly believe that the proposed Settlement is fair, reasonable,
    and adequate. �e fact that qualiﬁed and well-informed counsel endorse the Settlement as being
    fair, reasonable, and adequate weighs in favor of approving the Settlement.
           B.      �e Proposed Schedule is Reasonable
           �e Settlements aﬀord important relief in the form of information, cooperation, and
    monetary relief to Class Members, and the consideration oﬀered by the Settling Defendants is
    reasonable given the Insider Settling Defendants’ pending criminal sentences and the victim
    restitution to which they will be subject, and Mr. Friedberg’s and many Promoter Settling
    Defendants’ inability to pay greater sums, as well as signiﬁcant cooperation that is valuable to the
    class in pursuit of their claims against other defendants and third parties, in consideration for the
    Releases. �e Settlements consider the signiﬁcant beneﬁts provided to the Class by Settling
    Defendants fulﬁlling their cooperation. Consistent with the provisions of the Settlements, Plaintiﬀs
    respectfully propose the following schedule:
           • Objection Deadline: 60 days after the Court’s order of preliminary approval;
           • Deadline for parties to ﬁle a response to any comments or objections by a Class
           Member: 75 days after the Court’s order of preliminary approval;
           • Final Approval Hearing: at least 100 days after the ﬁling of this motion for
           preliminary approval and at least 80 days after the Court’s order of preliminary
           approval.
           C.      Certiﬁcation of the Proposed Settlement Class Is Appropriate
           �e parties agree that for purposes of settlement only that the Settlement Class be deﬁned
    as follows: “All persons or entities who, within the applicable limitations period, purchased or held
    legal title to and/or beneﬁcial interest in any ﬁat or cryptocurrency deposited or invested through
    an FTX Platform, purchased or enrolled in a YBA, or purchased FTT.” �e Class meets the
    requirement of class certiﬁcation set forth in Rule 23(a) and Rule 23(b)(3).
                   1. Rule 23(a) is Satisﬁed.
                   a.      �e Settlement Class Is Too Numerous to Permit Joinder.
           A case may be certiﬁed as a class action only if “the class is so numerous that joinder of all
    members is impracticable.” Fed. R. Civ. P. 23(a)(1). While there is no ﬁxed rule, numerosity is
    generally presumed when the potential number of class members reaches forty (40). Cnty. of


                                                     18
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 20 of 24



    Monroe, Fla. v. Priceline.com, Inc., 265 F.R.D. 659, 667 (S.D. Fla. 2010) (citing Newberg &
    Conte, Newberg on Class Actions, § 3.5 at 247 (4th ed.2002) (“as few as 40 class members should
    raise a presumption that joinder is impracticable and the plaintiﬀ whose class is that large or larger
    should meet the test of Rule 23(a)(1) on that fact alone”)). Here, numerosity is readily satisﬁed.
    �e total number of Class members is estimated to be in the millions. As of 2021, FTX reported
    over 1.2 million registered users across its platforms.
                   b.      �is Action Presents Common Questions of Law or Fact.
           Rule 23(a)(2) requires that there be one or more questions common to the class. WalMart
    Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2556 (2011). Plaintiﬀs need only show the existence of a
    common question of law or fact that is signiﬁcant and capable of class-wide resolution. In re Fla.
    Cement & Concrete Antitrust Litig., No. 09-23187-CIV, 2012 WL 27668, at *3 (S.D. Fla. Jan. 3,
    2012) (unpublished). �e Court already found such commonality in ordering consolidation of these
    FTX matters. In ordering the consolidation and transfer of these cases, the JPML explained:
           �ese actions present common questions of fact concerning the collapse of the FTX
           cryptocurrency exchange in November 2022, which allegedly was caused by the
           conduct of FTX former principals Sam Bankman-Fried, Zixiao “Gary” Wang, and
           Nishad Singh, and ﬁnancial improprieties with Alameda Research. All actions
           allege that FTX executives fraudulently withheld or misrepresented information
           with respect to customer assets on the FTX platform and that the professional
           service ﬁrms [i.e., the Domestic VC, Multinational VC, Accounting Firm, Law
           Firm, and Bank Defendant Tracks] and celebrity promoters [i.e., the Promoter and
           Digital Creator Track] who worked with FTX were complicit in or otherwise bear
           responsibility for the alleged fraud – for example, by concealing FTX’s ﬁnancial
           problems or promoting FTX products with knowledge or willful blindness of the
           alleged fraud.
    ECF No. 1, at 3. Common issues abound here, and Rule 23 (a)(2) is satisﬁed.
                   c.      Class Representatives’ Claims are Typical.
           Rule 23(a)(3) requires that “the claims and defenses of the representative parties are typical
    of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “�e typicality requirement is met
    if the claims of the named plaintiﬀs ‘stem from the same event, practice, or course of conduct that
    forms the basis of the class claims and are based upon the same legal or remedial theory.’” Gibbs
    Properties Corp. v. CIGNA Corp., 196 F.R.D. 430, 435 (M.D. Fla. 2000) (quoting, Walco Invs.,
    Inc. v. Thenen, 168 F.R.D. 315, 326 (S.D. Fla. 1996)). “�e key inquiry in determining whether a
    proposed class has ‘typicality’ is whether the class representative is part of the class and possesses
    the same interest and suﬀers the same injury as the class members.” Medine v. Washington Mut.,



                                                     19
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 21 of 24



    FA, 185 F.R.D. 366, 369 (S.D. Fla. 1998). Here, the Class Representatives’ claims stem from the
    same common course of conduct as the claims of the Class Members. See, e.g., Ex. A. FTX
    engaged in a widespread fraudulent scheme and conspiracy in which FTX customer property was
    wrongfully misappropriated by Alameda and FTX to further facilitate the fraud, a common course
    of conduct resulting in injury to all Class Members when the fraud was exposed and the FTX house
    of cards fell. Any injunctive and declaratory relief achieved also applies to Class Representatives
    and Class Members equally.
                   d.      Class Representatives and �eir Counsel Will Fairly and Adequately
                           Protect the Interests of the Settlement Class Members.
           Rule 23(a)(4) requires that the representative plaintiﬀs “fairly and adequately” protect the
    interests of the class. �e two-prong test for determining adequacy is: “(1) whether any substantial
    conﬂicts of interest exist between the representatives and the class; and (2) whether the
    representatives will adequately prosecute the action.” Valley Drug Co. v. Geneva Pharmaceuticals,
    Inc., 350 F.3d 1181, 1189 (11th Cir. 2003). Both prongs are satisﬁed here. First, Class
    Representatives and the Settlement Class Members are equally interested in recovering as much
    of their property and/or recovering damages from any defendant who aided, abetted, or was an
    accomplice or agent of FTX. Accordingly, the Class Representatives will fairly and adequately
    protect the interests of all Settlement Class Members. Second, Class Counsel have extensive
    experience litigating and settling class actions, including consumer fraud cases throughout the
    United States. Class Counsel are well-qualiﬁed to represent the Settlement Class.
           2.      �e Requirements of Rule 23(b)(3) are Satisﬁed.
           �e proposed Settlement Class satisﬁes Rule 23(b)(3), which permits a class action if the
    Court ﬁnds that “questions of law or fact common to class members predominate over any
    questions aﬀecting only individual members, and that a class action is superior to other available
    methods for fairly and eﬃciently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). �e Court
    has already acknowledged that common questions of law and fact exists such that Consolidation
    under MDL jurisdiction is appropriate, pursuant to 28 U.S.C. § 1407. See ECF No. 1, at 3. �e
    FTX fraud and alleged conspiracy plainly involve common issues of law and fact that predominate
    over any individual issues involved in this fraud of historic proportions.
           Rule 23(b)(3)’s other requirement is that class resolution must be “superior to other
    available methods for fairly and eﬃciently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
    �e purpose of the superiority requirement is consistent with the overall goals of Rule 23, which


                                                     20
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 22 of 24



    is to assure that the class action is the most eﬃcient, eﬀective, and economic means of settling the
    controversy. Walco Invs., Inc. v. Thenen, 168 F.R.D. 315, 337 (S.D. Fla. 1996). �at is the case
    here where FTX’s common course of conduct will play a foundational role in the case against any
    defendant and individual damages do not justify individual lawsuits. Id. (“It would be extremely
    costly, not to mention unnecessarily duplicative, for a class member to try this action separately”).
    �e individual damages that individual FTX account holders would seek in an individual action
    are insuﬃcient to incentivize and justify litigation against some of the largest institutional
    investors, but given the number of account holders, a class action provides incentives for litigation
    and recovery against the same defendants. Given the nature of the fraud and the damages here,
    class treatment is superior to individual lawsuits.
           V.      THE PROPOSED NOTICE TO THE CLASS SHOULD BE APPROVED
           Should the Court grant preliminary approval, it must also “direct notice in a reasonable
    manner to all class members who would be bound by the proposal. . . .” Fed. R. Civ. P. 23(e)(1)(B).
    Notice should be the best notice practicable under the circumstances. Fed. R. Civ. P. 23(c)(2)(B);
    see also Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985) (same). It is not only necessary
    that the notice reach the parties aﬀected, but also that it conveys the required information, including
    adequately describing the substantive claims and information reasonably necessary to make a
    decision to remain a class member and be bound by the ﬁnal judgment. See Adams v. Southern
    Farm Bureau Life Ins. Co., 493 F.3d 1276, 1286 (11th Cir. 2007). Notice will be transmitted
    through the Class Member emails contained in FTX’s client records. Notice will also be published
    in the Wall Street Journal, as well as online. �e notice plan provides the best notice practicable
    under the circumstances. Fed. R. Civ. P. 23(c)(2)(B).
                   A.      Summary of Notice Plan
                           1.      Notice
           Within 30 days after entry of the Preliminary Approval Order, the Parties will send, or
    cause to be sent, a Class Notice to each Class Member, in a form to be approved by the Court, that:
       1. contains a short, plain statement of the background of the Action and the Settlement;
       2. describes the settlement relief provided by the Settlements and outlined in this Motion;
       3. states that any relief to Class Members is contingent on the Court’s ﬁnal approval;
       4. informs Class Members that attorneys’ fees and expenses will be requested at a later time
          and, if approved by the Court, will be paid from the Settlement Fund;
       5. informs Class Members that any Final Order and Judgment entered in the Action, whether
          favorable or unfavorable to the Class, shall include, and be binding on, all Class Members,

                                                      21
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 23 of 24



           even if they have objected to the proposed Settlement and even if they have any other
           claim, lawsuit or proceeding pending against Settling Defendants;
       6. describes the terms of the Release; and
       7. contains reference and a hyperlink to a dedicated webpage established by JND, which will
          include relevant documents and information regarding Class Representatives’ claims
          against Defendants in the FTX MDL.
    �e speciﬁc form of the Notice approved by the Court will then be disseminated by email and U.S.
    Mail in accordance with JND’s Notice Plan. See Ex. C ¶¶ 17–29. JND also proposes Supplemental
    Digital Notice, Id. ¶¶ 30–32, Search Engine Optimization, Id. ¶ 33, Publication Notice, Id. ¶ 34,
    and a Toll-Free Number and Post Oﬃce Box, Id. ¶¶ 38–40, to facilitate dissemination of the Notice.
                           2.     Settlement Website
           JND will also develop and deploy the informational case-speciﬁc website where Class
    Members may obtain more information about the settlement. Ex. C ¶ 35. �e case website would
    have an easy-to-navigate design that will be formatted to emphasize important information and
    deadlines and will provide links to important case documents, including a Long Form Notice. Id.
    �e settlement website would be prominently displayed in all printed notice documents and
    accessible through the email and digital notices. Id. ¶ 36. �e settlement website would also be
    ADA-compliant and optimized for mobile visitors so that information loads quickly on mobile
    devices. Id. ¶ 37. It will be designed to maximize search engine optimization through Google and
    other search engines. Id.
                   B.      �e Notice Plan Meets All Requirements
           �e Class’s proposed notice plan satisﬁes the fairness standards set forth in Rule 23. �e
    proposed notice is the best practicable under the circumstances. �e notice is reasonably calculated
    under the circumstances to apprise the Settlement Class of the pendency of the Action, class
    certiﬁcation, the terms of the Settlement, Class Counsel’s Fee Application, and their rights to opt-
    out of the Settlement Class and object to the Settlement, Class Counsel’s Fee Application, and/or
    a request for Service Awards for Plaintiﬀs. See In re Checking Acct. Overdraft Litig., 275 F.R.D.
    654, 662 (S.D. Fla. 2011). �e Notice presents all required categories of information clearly and
    in plain English. See Adams, 493 F.3d at 1286. �e notice is therefore substantively suﬃcient.
           VI.     THE FINAL APPROVAL HEARING SHOULD BE SCHEDULED
           �e Class requests that the Court grant preliminary approval and set the schedule set forth
    in Exhibit D, which includes a proposed ﬁnal approval hearing date no earlier than 80 days after
    preliminary approval, if granted.


                                                    22
Case 1:23-md-03076-KMM Document 565 Entered on FLSD Docket 03/27/2024 Page 24 of 24



           VII.    CONCLUSION
           For the foregoing reasons, Plaintiﬀs respectfully request that the Court do the following:
    (1) grant preliminary approval of the Settlements; (2) grant preliminary approval of the Proposed
    Settlement Class; (3) appoint Class Representatives as Rule 23(c) class representatives; (4) appoint
    Adam Moskowitz of �e Moskowitz Law Firm, PLLC and David Boies of Boies Schiller Flexner
    LLP as Co-Lead Class Counsel pursuant to Fed R. Civ. P. 23(c)(1)(B) and 23(g); (5) approve the
    proposed Notice Plan pursuant to Fed. R. Civ. P. 23(e) and set a schedule for approving the form
    and disseminating notice to Class Members, as well as deadlines to comment on or object to the
    Settlements; and (6) schedule a hearing pursuant to Fed. R. Civ. P. 23(e)(2) to determine whether
    the proposed Settlements are fair, reasonable, and adequate; and should be ﬁnally approved.
    Dated: March 27, 2024                             Respectfully submitted,

     By: /s/ Adam Moskowitz                            By: /s/ David Boies
     Adam M. Moskowitz                                 David Boies
     Florida Bar No. 984280                            Alexander Boies
     Joseph M. Kaye                                    Brooke A. Alexander
     Florida Bar No. 117520                            BOIES SCHILLER FLEXNER LLP
     THE MOSKOWITZ LAW FIRM, PLLC                      333 Main Street
     Continental Plaza                                 Armonk, NY 10504
     3250 Mary Street, Suite 202                       914-749-8200
     Coconut Grove, FL 33133                           dboies@bsfllp.com
     Office: (305) 740-1423                            aboies@bsfllp.com
     adam@moskowitz-law.com                            balexander@bsfllp.com
     joseph@moskowitz-law.com
     service@moskowitz-law.com                         Co-Lead Counsel

     Co-Lead Counsel



                                     CERTIFICATE OF SERVICE

           I certify that a true and correct copy of the forgoing was filed on March 27, 2024, via the

    Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.


                                                         By: /s/ Adam Moskowitz
                                                                 Adam Moskowitz




                                                    23
